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PALLADIN PARTNERS, et al.,          :           UNITED STATES DISTRICT COURT
                                    :              DISTRICT OF NEW JERSEY
            Plaintiff(s),           :
                                    :               Hon. William J. Martini
      -vs-                          :               Civil Action No. 05-3305 (WJM)
                                    :
                                    :
RAYMOND R. KOCH, et al.,            :            ORDER SCHEDULING CONFERENCE
                                    :
            Defendant(s).           :
____________________________________:


       IT IS on this 15th day of March, 2007

       ORDERED that there shall be a status/settlement conference before the undersigned on
Wednesday, April 18, 2007 at 3:30 p .m. at the U.S. Post Office and Courthouse, 1 Federal Square,
Fourth Floor, Room 457, Newark, New Jersey.



                                                    S/Mark Falk
                                                    MARK FALK
                                                    United States Magistrate Judge

Orig.: Clerk of the Court
cc:    Hon. William J. Martini, U.S.D.J.
       All Parties
       File
